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                                            RECORD NO. 22-1721

                                                       In The
                     United States Court of Appeals
                                          For The Fourth Circuit

         MAXWELL KADEL; JASON FLECK; CONNOR THONEN-FLECK;
         JULIA MCKEOWN; MICHAEL D. BUNTING, JR.; C.B., by his next
             friends and parents; SAM SILVAINE; DANA CARAWAY,
                                                                           Plaintiffs – Appellees,
                                                            v.

          DALE FOLWELL, in his official capacity as State Treasurer of North
       Carolina; DEE JONES, in her official capacity as Executive Administrator
       of the North Carolina State Health Plan for Teachers and State Employees,
                                                                           Defendants – Appellants,
                                                          and

            NORTH CAROLINA STATE HEALTH PLAN FOR TEACHERS
             AND STATE EMPLOYEES; STATE OF NORTH CAROLINA
                     DEPARTMENT OF PUBLIC SAFETY,
                                                                           Defendants.

               ON APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA AT GREENSBORO

        MOTION FOR LEAVE TO FILE BRIEF OF AMICI CURIAE THE AMERICAN
         MEDICAL ASSOCIATION AND SEVEN ADDITIONAL HEALTH CARE
      ORGANIZATIONS IN SUPPORT OF PLAINTIFFS-APPELLEES AND AFFIRMANCE

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              Pursuant to Federal Rule of Appellate Procedure 29(a), the American Medical

        Association and Seven Additional Health Care Organizations move for leave to file

        an amici curiae brief in support of affirmance and Plaintiffs-Appellees. The

        proposed brief accompanies this Motion.

                        INTEREST AND IDENTITY OF AMICI CURIAE

              Amici curiae are eight leading medical, mental health, and other health care

        organizations. Collectively, amici represent hundreds of thousands of physicians and

        mental-health professionals, including specialists in family medicine, mental health

        treatment, internal medicine, endocrinology, obstetrics and gynecology, and

        thousands of nurses.

              Amicus the American Academy of Pediatrics (“AAP”) represents 67,000

        primary care pediatricians, pediatric medical subspecialists, and surgical specialists

        who are committed to the attainment of optimal physical, mental, and social health

        and well-being for all infants, children, adolescents, and young adults. In its

        dedication to the health of all children, the AAP strives to improve health care access

        and eliminate disparities for children and teenagers who identify as lesbian, gay,

        bisexual, transgender, or for those questioning their sexual or gender identity.

              Amicus the American College of Obstetricians and Gynecologists (“ACOG”)

        is a national organization of more than 62,000 women’s health care physicians and

        medical professionals. ACOG’s membership represents more than 90% of all board-
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        certified obstetrician-gynecologists (ob-gyns) in the United States. ACOG advocates

        for quality health care for women, maintains the highest standards of clinical practice

        and continuing education of its members, promotes patient education, and increases

        awareness among its members and the public of the changing issues facing women’s

        health care. ACOG has appeared as amicus curiae in courts throughout the country.

        ACOG’s briefs and medical practice guidelines have been cited by numerous

        authorities, including the Supreme Court of the United States.

              Amicus the American Medical Association (“AMA”) is the largest

        professional association of physicians, residents, and medical students in the United

        States. Additionally, through state and specialty medical societies and other

        physician groups seated in its House of Delegates, substantially all physicians,

        residents, and medical students in the United States are represented in the AMA’s

        policy-making process. The AMA was founded in 1847 to promote the art and

        science of medicine and the betterment of public health, and these remain its core

        purposes. AMA members practice in every medical specialty and in every state.

              Amicus the American Psychiatric Association (“APA”), with more than

        37,400 members, is the Nation’s leading organization of physicians who specialize

        in psychiatry. The American Psychiatric Association has participated in numerous

        cases in the Supreme Court and in the United States Courts of Appeals. The

        American Psychiatric Association opposes all public and private discrimination


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        against transgender and gender-diverse individuals, including in health care. See

        Jack Drescher et al., Am. Psychiatric Ass’n, Position Statement on Discrimination

        Against    Transgender      and     Gender     Diverse    Individuals    1    (2018),

        https://www.psychiatry.org/File%20Library/About-APA/Organization-Documents

        -Policies/Policies/Position-2018-Discrimination-Against-Transgender-and-Gender-

        Diverse-Individuals.pdf.

              Amicus the Endocrine Society is the oldest and largest global professional

        membership organization representing the field of endocrinology. The Endocrine

        Society’s more than 18,000 members care for patients and are dedicated to

        advancing hormone research and excellence in the clinical practice of

        endocrinology, focusing on diabetes, obesity, osteoporosis, infertility, rare cancers,

        and thyroid conditions.

              Amicus the North American Society for Pediatric and Adolescent Gynecology

        (“NASPAG”) is dedicated to providing multidisciplinary leadership in education,

        research and gynecologic care to improve the reproductive health of youth. Its focus

        is to serve and be recognized as the lead provider in PAG education, research and

        clinical care, conduct and encourage multidisciplinary and inter-professional

        programs of medical education and research in the field of PAG, and advocate for

        the reproductive well-being of children and adolescents and the provision of

        unrestricted, unbiased, and evidence-based practice of PAG.


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              Amicus the National Association of Nurse Practitioners in Women’s Health

        (“NPWH”) is a national professional membership organization. NPWH is the

        nation’s leading voice for courageous conversations about women’s health. NPWH

        gives voice to over 12,000 certified women’s health nurse practitioners in the United

        States, as well as other advanced practice registered nurses (APRNs) providing

        women’s health and gender related care. We set a standard of excellence by

        translating and promoting the latest research and evidence-based clinical guidance,

        providing high quality continuing education, and advocating for patients, providers,

        and the WHNP profession. Our mission includes protecting and promoting a

        woman's right to make her own choices regarding her health and well-being within

        the context of her lived experience and her personal, religious, cultural, and family

        beliefs. Women’s health and gender related nurse practitioners champion state-of-

        the-science healthcare that holistically and inclusively addresses the unique needs of

        women across their lifetimes. Since its inception in 1980 NPWH has been a trusted

        source of information on nurse practitioner education, practice, and women’s health

        issues.

              Women’s health and gender related nurse practitioners champion state-of-the-

        science healthcare that holistically and inclusively addresses the unique needs of

        women across their lifetimes. NPWH works with a wide range of individuals and




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        groups within nursing, medicine, the healthcare industry, and the women’s health

        community.

              Amicus the Society of OB/GYN Hospitalists (“SOGH”) is a national

        organization of more than 1,500 women’s healthcare physicians and medical

        professionals and is the only national medical subspecialty organization whose

        members specialize in inpatient obstetrics and gynecologic care. The SOGH is

        committed to improving outcomes for hospitalized women and to patient safety and

        quality care for all women. As frontline, hospital-based providers of women’s

        healthcare, the SOGH is uniquely positioned to advocate for justice and tolerance

        through evidence-based care, research, and policy development. The SOGH rejects

        discriminatory practices that jeopardize patient care.

              All amici share a commitment to improving the physical and mental health of

        all Americans—regardless of gender identity—and to informing and educating

        lawmakers, the judiciary, and the public regarding the public-health impacts of laws

        and policies. Amici submit this brief to inform the Court of the medical consensus

        regarding what it means to be transgender; the protocols for the treatment of gender

        dysphoria, which include living in accordance with one’s gender identity in all

        aspects of life; and the predictable harms to the health and well-being of transgender

        individuals who are denied access to necessary medical treatments to do so.




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                           DESIRABILITY OF AN AMICUS BRIEF

              Amici feel a responsibility to inform this Court about the nearly-universally

        agreed upon best practices when treating transgender individuals for gender

        dysphoria and providing gender-conforming care. Amici, as leading healthcare

        providers both within the State of North Carolina and beyond, are in a unique

        position to inform the Court about the proper treatments for people experiencing

        gender dysphoria, the negative health outcomes when gender dysphoria is left

        untreated, and other health concerns that could arise from lack of coverage by State

        health care plans. Amici believe that the information contained in their proposed

        brief will assist the Court in its deliberations on the present appeal by presenting a

        complete and accurate description of the medical conditions and treatments at issue

        in the pending appeal.

              Proposed Amici Curiae therefore respectfully request that the Court grant

        them permission to file an amicus curiae brief in support of affirmance and

        Plaintiffs-Appellees.

              Counsel for Amici Curiae reached out to the parties to seek consent to file this

        brief. Counsel for Plaintiffs consented to the filing of the amicus brief, and counsel

        for Defendants did not.




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              Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), no party’s counsel

        authored this brief in whole or in part. No person other than amici and its counsel

        contributed any money intended to fund the preparation or submission of this brief.

              WHEREFORE, for the foregoing reasons and those included in the brief of

        amici curiae, the American Medical Association and Seven Additional Health Care

        Organizations respectfully request leave to file the attached brief.

                                                 Respectfully submitted,

        Date: October 7, 2022                    /s/ Howard S. Suskin

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                             CERTIFICATE OF COMPLIANCE

        1.    This motion complies with type-volume limits because, excluding the parts of
              the document exempted by Fed. R. App. P. 32(f):

              [ X ] this motion contains [1,264] words.

              [ ] this motion uses a monospaced type and contains [state the number of]
              lines of text.

        2.    This motion complies with the typeface and type style requirements because:

              [ X ] this motion has been prepared in a proportionally spaced typeface using
              [Microsoft Word 365] in [14pt Times New Roman]; or

              [ ] this motion has been prepared in a monospaced typeface using [state
              name and version of word processing program] with [state number of
              characters per inch and name of type style].


        Date: October 7, 2022                 /s/ Howard S. Suskin
                                                  Howard S. Suskin
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                         CERTIFICATE OF FILING AND SERVICE
               I hereby certify that I caused the foregoing Motion to be electronically filed
        with the Clerk of Court for the United States Court of Appeals for the Fourth Circuit
        by using the appellate CM/ECF system on October 7, 2022. I further certify that all
        participants in this case are registered CM/ECF users, and that service will be
        accomplished by the CM/ECF system.


        Date: October 7, 2022                  /s/ Howard S. Suskin
                                                   Howard S. Suskin
